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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division



 PRECISION FRANCHISING,LLC,

                Plaintiff,

         V.                                                l:18-cv-582(LMB/TCB)

 DISTRICT HEIGHTS CCS LLC,et al..

                Defendants.



                                              ORDER



       Before the Court is a Report and Recommendation ("Report")issued by a magistrate

judge on August 29,2018 [Dkt. No. 16], which recommended that Precision Franchising LLC's

("PFL" or "plaintiff') Motion for Default Judgment [Dkt. No.8] be granted and that plaintiff be

awarded $318,325.33 in damagesjointly and severally against defendants District Heights CCS

LLC("DHCCS")and Sean Alewine("Alewine")(collectively "defendants"). S^ Report at 14.

The parties were advised that any objections to the Report had to be filed within 14 days and that

failure to file a timely objection waived the right to appeal the substance of the Report and any

judgment based upon the Report. As of September 25,2018, no party has filed an objection.

The Court has reviewed the Report, plaintiffs Motion for Default Judgment, and the case file

and adopts the Report in all substantial respects.

       In a two-count complaint, plaintiff alleged that defendants breached the Franchise

Agreement by 1)ceasing operation ofthe Precision Tune automotive service center(the

"Center")and selling it to a competing auto repair business without obtaining PFL's prior written

consent or affording it its right offirst refusal and 2)by failing to make required marketing
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